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                                                                                                    UNITED STATES DISTRICT COURT
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                                                                                                  NORTHERN DISTRICT OF CALIFORNIA
                                                                          7
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                                                                          9   In Re: Cathode Ray Tube (CRT)      )         No. 07-5944 SC
                                                                              Antitrust Litigation               )
                                                                         10                                      )         MDL No.    1917
                                                                              ___________________________________)
                               For the Northern District of California




                                                                         11                                      )
United States District Court




                                                                              CRAGO, Inc.,                       )         ORDER APPOINTING
                                                                         12                                      )         INTERIM LEAD COUNSEL
                                                                                        Plaintiff,               )
                                                                         13                                      )
                                                                                  v.                             )
                                                                         14                                      )
                                                                              CHUNGHWA PICTURE TUBES, LTD., et   )
                                                                         15   al.,                               )
                                                                                                                 )
                                                                         16             Defendants.              )
                                                                                                                 )
                                                                         17                                      )
                                                                         18   I.   INTRODUCTION
                                                                         19        This matter comes before the Court on various motions seeking
                                                                         20   appointment of interim lead counsel for the two separate putative
                                                                         21   subclasses of direct and indirect purchasers.          The motion to
                                                                         22   appoint interim lead class counsel for the direct purchasers is
                                                                         23   unopposed.   Four motions seeking appointment of interim lead class
                                                                         24   counsel for the indirect purchasers were submitted to the Court.
                                                                         25   Since that time, however, the group comprised of the Alioto Law
                                                                         26   Firm and the Miller Law Firm has withdrawn its motion.            See Docket
                                                                         27   Nos. 181, 192.    Furthermore, the group comprised of the firms of
                                                                         28   Ball & Scott and Goldman, Scarlato & Karon has apparently also
                                                                               Case 3:07-cv-05944-JST Document 282 Filed 05/09/08 Page 2 of 7



                                                                          1   decided not to pursue their motion.        The Court draws this
                                                                          2   inference from the following: at the status conference held on
                                                                          3   April 4, 2008, the Court ordered all parties seeking appointment
                                                                          4   of interim class counsel for the indirect purchasers to submit a
                                                                          5   letter under seal and in camera containing various information,
                                                                          6   including proposed fee arrangements.        The Ball and Goldman firms
                                                                          7   did not submit this letter and the Court can only conclude that
                                                                          8   these firms no longer seek appointment.        Thus, two motions remain
                                                                          9   pending: the first submitted by the firm Trump, Alioto, Trump &
                                                                         10   Prescott ("Trump") and the second submitted by the group comprised
                               For the Northern District of California




                                                                         11   of the firms Zelle, Hofmann, Voelbel, Mason, & Gette and Lovell,
United States District Court




                                                                         12   Stewart, Halebian (collectively "Zelle").
                                                                         13
                                                                         14   II.   LEGAL STANDARD
                                                                         15         Pursuant to Federal Rule of Civil Procedure 23(g)(3), the
                                                                         16   Court "may designate interim counsel to act on behalf of a
                                                                         17   putative class before determining whether to certify the action as
                                                                         18   a class action."    Although Rule 23(g)(3) itself contains no
                                                                         19   guidance for selecting interim counsel, the criteria specified in
                                                                         20   Rule 23(g)(1) for the appointment of class counsel shall be used
                                                                         21   by the Court in making its determination.
                                                                         22         Rule 23(g)(1) states:
                                                                         23              In appointing class counsel, the court:
                                                                                              (A) must consider:
                                                                         24                        (i) the work counsel has done
                                                                                                   in identifying or investigating
                                                                         25                        potential claims in the action;
                                                                                                   (ii) counsel's experience in
                                                                         26                        handling class actions, other
                                                                                                   complex litigation, and the
                                                                         27                        types of claims asserted in the
                                                                         28                               2
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                                                                          1                          action;
                                                                                                     (iii) counsel's knowledge of
                                                                          2                          the applicable law; and
                                                                                                     (iv) the resources that counsel
                                                                          3                          will commit to representing the
                                                                                                     class.
                                                                          4
                                                                          5   Fed. R. Civ. P. 23(g)(1).      In addition, a court "may consider any
                                                                          6   other matter pertinent to counsel's ability to fairly and
                                                                          7   adequately represent the interests of the class."          Id.
                                                                          8
                                                                          9   III. DISCUSSION
                                                                         10        At the outset, the Court notes that all of the firms seeking
                               For the Northern District of California




                                                                         11   interim lead class counsel have indicated a preference for co-lead
United States District Court




                                                                         12   counsel.   The Court is convinced, however, that a single firm will
                                                                         13   usually provide more effective and efficient representation than a
                                                                         14   group of two or more firms.      A single firm is already organized
                                                                         15   with internal levels of communication and management structure.         A
                                                                         16   group of firms, on the other hand, must create these structures.
                                                                         17   This will tend to increase the risk that items may fall through
                                                                         18   the cracks.   Moreover, as the Advisory Committee Note states, "the
                                                                         19   court should be alert to . . . the risk of overstaffing" and the
                                                                         20   possibility of "an ungainly counsel structure."
                                                                         21        A.    Direct Purchaser Subclass
                                                                         22        As noted above, the motion to appoint interim lead class
                                                                         23   counsel for the direct purchaser subclass was unopposed.          The
                                                                         24   motion, however, seeks appointment of two firms as co-lead counsel
                                                                         25   and, for the reasons stated above, the Court finds that
                                                                         26   appointment of one firm is preferable.        Therefore, after reviewing
                                                                         27   the motion and the attached declarations, the Court appoints Guido
                                                                         28                                         3
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                                                                          1   Saveri and his firm Saveri & Saveri as interim lead class counsel
                                                                          2   for the putative nationwide class of direct purchasers.            Interim
                                                                          3   counsel shall have all of the duties set forth below.             There is no
                                                                          4   need for an executive committee at this time.
                                                                          5         B.     Indirect Purchaser Subclass
                                                                          6         As various firms submitted competing motions for appointment
                                                                          7   of interim counsel for the indirect purchaser class, the Court
                                                                          8   analyzes these motions under the Rule 23 framework.
                                                                          9                1.   Work in Identifying or Investigating Potential
                                                                         10                     Claims
                               For the Northern District of California




                                                                         11         This factor does not favor any of the applicant firms.            All
United States District Court




                                                                         12   of the firms filed actions within one month of each other.
                                                                         13   Although the Lovelle firm filed the first Complaint in the country
                                                                         14   on November 13, 2007, there is nothing else to indicate that any
                                                                         15   firm has done substantially more in identifying or investigating
                                                                         16   potential claims.
                                                                         17                2.   Counsel's Experience
                                                                         18         All of the applicant law firms have excellent track records.
                                                                         19   Nonetheless, while two of the firms indicated that their top
                                                                         20   attorneys would be involved, only one firm made it clear that it's
                                                                         21   top attorney would lead, rather than merely participate, in his
                                                                         22   firm's role as interim lead counsel.        For this reason, this factor
                                                                         23   favors the Trump firm.
                                                                         24                3.   Counsel's Knowledge
                                                                         25         All of the applicant law firms contain eminently capable
                                                                         26   attorneys.    This factor favors none of the applicants.
                                                                         27   ///
                                                                         28                                         4
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                                                                          1              4.     Counsel's Resources
                                                                          2         At first blush, this factor would tend to favor either the
                                                                          3   Zelle or Lovelle firm, as each is a larger firm with offices
                                                                          4   nationwide.     Nonetheless, the Court is not convinced that bigger
                                                                          5   is necessarily better, especially in light of the fact that only a
                                                                          6   handful of attorneys from each firm will be working on this case.
                                                                          7   Thus, for example, a firm of 100 attorneys will not necessarily be
                                                                          8   more able to devote the necessary resources to this case than a
                                                                          9   firm one tenth that size.
                                                                         10         Weighing all the above factors, the Court appoints Mario
                               For the Northern District of California




                                                                         11   Alioto and his firm Trump, Alioto, Trump & Prescott as interim
United States District Court




                                                                         12   lead counsel for the putative nationwide class of indirect
                                                                         13   purchasers.     Interim counsel shall have all of the
                                                                         14   responsibilities set forth below.         There is no need for an
                                                                         15   executive committee at this time.
                                                                         16
                                                                         17   IV.   RESPONSIBILITIES
                                                                         18         All interim counsel shall have the following
                                                                         19   responsibilities:
                                                                         20         1.   To promote the orderly and efficient conduct of this
                                                                         21              litigation and to avoid unnecessary duplication and
                                                                         22              unproductive efforts;
                                                                         23         2.   To initiate and conduct all discovery proceedings and
                                                                         24              communicate with defense counsel with respect to same on
                                                                         25              all issues;
                                                                         26         3.   To coordinate all motions, requests for discovery,
                                                                         27              experts, and other pretrial proceedings regarding the
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                                                                          1             position of all Plaintiffs;
                                                                          2       4.    To meet and negotiate with defense counsel with respect
                                                                          3             to settlement and other matters after adequate due
                                                                          4             diligence;
                                                                          5       5.    To record and administer all times and expenses of
                                                                          6             counsel and staff;
                                                                          7       6.    To assess plaintiffs' law firms common litigation costs
                                                                          8             and to collect assessments on a regular basis;
                                                                          9       7.    To monitor the activities of Plaintiffs' counsel and to
                                                                         10             implement procedures to ensure that schedules are met
                               For the Northern District of California




                                                                         11             and unnecessary expenditures of time and funds are
United States District Court




                                                                         12             avoided;
                                                                         13       8.    To consult, as necessary in the best interests of the
                                                                         14             putative class, with all other Plaintiffs' counsel to
                                                                         15             obtain their input concerning strategy and to be the
                                                                         16             primary spokesperson for the putative class;
                                                                         17       9.    To act as interim counsel in any appeal prior to
                                                                         18             appointment of class counsel;
                                                                         19       10.   To otherwise advance and protect the interests of the
                                                                         20             putative class in all respects and to honor all of its
                                                                         21             responsibilities, including making sure that all
                                                                         22             representations and commitments made on its behalf are
                                                                         23             honored; and
                                                                         24       11.   It shall be the responsibility of lead counsel to serve
                                                                         25             all parties with all orders and correspondence issued by
                                                                         26             the Court.
                                                                         27
                                                                         28                                        6
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                                                                          1   V.   CONCLUSION
                                                                          2        The appointments above shall become effective upon the filing
                                                                          3   of a certificate by said counsel accepting the terms of the
                                                                          4   appointment, which shall be filed within SEVEN CALENDER DAYS of
                                                                          5   the date of this Order.      This order finds the following
                                                                          6   appointments will best protect the interests of putative class
                                                                          7   members.   The foregoing appointments are without prejudice to a
                                                                          8   fresh examination of who should be class counsel if and when
                                                                          9   classes are certified.
                                                                         10
                               For the Northern District of California




                                                                         11
United States District Court




                                                                         12        IT IS SO ORDERED.
                                                                         13
                                                                         14        Dated: May 9, 2008
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                                                                         17                                             UNITED STATES DISTRICT JUDGE
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